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   Reframing, Reconciling, and Individualizing:
   How LGBTQ Activist Groups Shape




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   Approaches to Religion and Sexuality


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   Past research reveals the multiple ways that people grapple with the connections between religious and
   sexual identities. Some people perceive religious identities to be in conflict with lesbian, gay, bisexual,
   or queer (LGBQ) identities, but others believe such identities to be compatible. Some people look
   to religious authorities for guidance in understanding the connections between religious and LGBQ
   identities, whereas others rely on strategies of religious individualism. What factors affect people’s
   approaches to understanding the connections between religious and sexual identities? Drawing on 77
   interviews with participants in lesbian, gay, bisexual, transgender, and queer (LGBTQ) activist groups
   at four Christian colleges and universities, and employing Goffmanian insights, this article shows how
   LGBTQ activist groups’ different audiences inspire distinct approaches to understanding religion and
   sexuality. The study demonstrates that activist groups can powerfully shape understandings of seem-
   ingly disparate social identities and suggests a theoretical framework for future research.
   Key words: Christianity; sexuality/sexual orientation/homosexuality; social movements/collective behavior;
       qualitative methods




   INTRODUCTION

       Questions regarding the connections between religious and sexual identities
   have inspired a large body of research in sociology and religious studies. Much
   early research on this topic assumed that lesbian, gay, bisexual, or queer (LGBQ)
   people who are also persons of faith experience their religious and sexual identities
   as contradictory and that they must work hard to resolve these identity conflicts
   and any accompanying cognitive dissonance (e.g., Barton 2012; Crapo 2005;


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  Erzen 2006; Lalich and McLaren 2010; Levy 2012; Loseke and Cavendish 2001;
  Mahaffy 1996; Pitt 2010; Rodriguez and Ouellette 2000; Schnoor 2006; Shah
  2018; Thumma 1991; Wedow et al. 2017; Wilcox 2003; Winder 2015; Wolkomir
  2006; Woodell et al. 2015; Yip 1997, 2005). Furthermore, much early research
  assumed that LGBQ people primarily look to religious authorities for guidance




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  in understanding their religious and sexual identities, or at least devote substan-
  tial effort to reconciling religion and sexuality using the framework of their reli-
  gious tradition (e.g., Barton 2012; Crapo 2005; Erzen 2006; Lalich and McLaren
  2010; Loseke and Cavendish 2001; Mahaffy 1996; Schnoor 2006; Thumma 1991;
  Wedow et al. 2017; Wolkomir 2006). However, emerging research reveals that
  some LGBQ persons of faith experience no such conflicts and perceive their reli-
  gious and sexual identities to be compatible (e.g., Cadge 2005; Fuist 2016; Moon
  2014; Wilcox 2009). Similarly, researchers have shown that some LGBQ people’s
  efforts to understand the connection between their religious and sexual identities
  are better characterized by religious individualism (Roof 1999; Wuthnow 1998),
  for example, attempts to mine a variety of religious traditions to construct
  personalized understandings about religious and sexual identities (e.g., Wilcox
  2009).
       What factors shape people’s choice of approaches to understanding the
  connections between religious and sexual identities? Although sociology is rich
  with single-case studies describing the many discourses informing understandings
  about religion and sexuality and the distinct strategies people use to understand
  the connections between their religious and sexual identities, we have generally
  lacked comparative studies of groups navigating questions about religion and sex-
  uality that might provide analytic leverage to address this sociological question.
  I adopt such an approach here, analyzing the ways lesbian, gay, bisexual, trans-
  gender, and queer (LGBTQ) activist groups at four schools shape approaches to
  religion and sexuality.1
       I focus on LGBTQ activist groups at Christian colleges and universities, im-
  portant sites of contemporary LGBTQ mobilization where debates over religion
  and sexuality have serious implications for campus policies and climates affecting
  a marginalized student population (Coley 2018a). Although federal law protects
  the ability of students to form LGBTQ groups at public universities, courts ruled in
  1980s that LGBTQ groups at religious universities have no such right to organize
  due to first amendment religious provisions (Miceli 2005), and the federal govern-
  ment continues to grant religious universities waivers from nondiscrimination laws
  (Coley 2018a). Although more than 55% of Christian colleges and universities
  have adopted nondiscrimination policies inclusive of sexual orientation (Coley
  2017), 31% of Christian colleges and universities continue to discriminate against

        1
         Although this article focuses on issues surrounding religion and sexuality, I use the full
  acronym “LGBTQ” when referring to the activist groups I study because all of these groups
  referred to themselves as “LGBT” or “LGBTQ” and thus included transgender issues within
  their purview.


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   LGBTQ people, often through bans on so-called “homosexual acts” (Coley 2018b).
   Furthermore, formally inclusive and exclusionary schools alike can be home to
   campus climates that are chilly or hostile in practice.
        Employing Goffmanian insights on how people forge different frames
   (Goffman 1974) in their interactions with distinct audiences (Goffman 1959),




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   this article reveals the contrasting ways that activist groups shape people’s
   approaches to understanding the connections between religious and sexual
   identities. LGBTQ activist groups engage audiences that can be distinguished
   along two dimensions: friends of the LGBQ community versus foes of the LGBQ
   community (Blee and McDowell 2012), and group outsiders comprising the front
   stage versus group insiders comprising the back stage (Goffman 1959). Whereas
   members of LGBTQ activist groups mobilizing friends adopt liberal compati-
   bility discourses on religious and sexual identity, members of LGBTQ activist
   groups focused on outreach to foes engage conservative conflict discourses on
   religious and sexual identity. Furthermore, whereas groups oriented to the front
   stage defer to authoritative understandings of religious and sexual identities,
   groups oriented to the back stage allow for individualistic understandings of re-
   ligion and sexuality.
        This article’s findings hold important practical implications for those LGBTQ
   groups working to transform hearts and minds even in conservative Christian
   settings. Many students arrive at their Christian colleges and universities doubting
   the morality of same-sex relationships or LGBQ identities; other students may not
   have thought much about their beliefs about the connections between religion and
   sexuality or may be newly questioning discriminatory beliefs imparted through their
   upbringings. This article shows that groups play key roles in helping people un-
   derstand the connections between religion and sexuality (cf. Fuist 2016; Izienicki
   2017; Levy 2012), and in the process, the article develops a Goffmanian approach
   for understanding these groups’ work that can inform future scholarship on religion,
   sexuality, and social activism. I elaborate on these findings and their theoretical and
   practical implications later in the article, but first I review prior research, describe
   my core concepts and propositions, and outline my data and analytic approach.


   PREVIOUS RESEARCH AND THEORY ON RELIGIOUS AND
   SEXUAL IDENTITIES

        Although faith communities are often portrayed as opponents of LGBTQ
   rights, LGBQ people often report religion to be an important source of resil-
   iency (Schmitz and Woodell 2018). Indeed, Sherkat (2016: 762) shows that
   most LGBQ people in the United States continue to identify with some form
   of religion. Given not only the taboo nature of sexuality within many faith
   communities but also the stigma attached to religion among many LGBQ people,
   though, how do LGBQ people come to understand the connections between re-
   ligion and sexuality?

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  Conservative Versus Liberal Perceptions of Religious and Sexual Identities
      In one line of research, scholars have documented contrasting conserva-
  tive and liberal perceptions of the connections between religious and LGBQ
  identities. People adopting conservative perceptions of religious and sexual
  identities take seriously many religious traditions’ condemnations of same-




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  sex relationships. Some LGBQ people resolve these conflicts by attempting
  to rid themselves of homosexual desire altogether through ex-gay reparative
  therapy (Barton 2012: ch. 5; Erzen 2006; Wolkomir 2006) or by resolving to
  remain celibate (Wedow et al. 2017). Others attempt to resolve these conflicts
  by connecting to peers going through similar struggles, joining an affirming
  church, and/or reinterpretating church teachings (e.g., Crapo 2005; Lalich and
  McLaren 2010; Levy 2012; Mahaffy 1996; Pitt 2010; Rodriguez and Ouellette
  2000; Schnoor 2006; Shah 2018; Thumma 1991; Wedow et al. 2017; Wilcox
  2003; Winder 2015; Wolkomir 2006; Woodell et al. 2015; Yip 1997, 2005).
  Some may even opt to abandon religion altogether (e.g., Izienicki 2017; Wedow
  et al. 2017). However, these conflicts are resolved, LGBQ people across many
  religious traditions have reported such struggles, including within historically
  white Protestant denominations (Barton 2012; Erzen 2006; Thumma 1991;
  Wolkomir 2006), historically black Protestant denominations (Pitt 2010;
  Winder 2015), Catholicism (Izienicki 2017; Loseke and Cavendish 2001;
  Wedow et al. 2017; Yip 1997, 2005), the Church of Jesus Christ of Latter-Day
  Saints (Crapo 2005), Jehovah’s Witnesses (Lalich and McLaren 2010), Islam
  (Shah 2018; Yip 2005), and Judaism (Schnoor 2006).
      LGBQ people adopting liberal understandings of the connections between
  religious and sexual identities reject the premise that any kind of conflict or ten-
  sion exists between their religious and sexual identities: as in the title of Fuist’s
  (2016) study, “It just always seemed like it wasn’t a big deal, yet I know for some
  people they really struggle with it.” They may even report that their desire for
  same-sex relationships is a gift from God or a Godly calling (Moon 2014). As
  researchers have found, LGBQ people expressing these views tend to be in-
  volved in a more limited set of religious groups, including (but not limited to)
  LGBTQ-led congregations within socially conservative Christian traditions [e.g.,
  Catholic Dignity chapters (Fuist 2016)]; mainline Protestant congregations asso-
  ciated with denominations such as the Disciples of Christ, the Episcopal Church,
  the Evangelical Lutheran Church, the Presbyterian Church USA, the United
  Church of Christ, and the United Methodist Church (Wilcox 2009: ch. 4); and
  certain non-Christian religious traditions such as Buddhism (Cadge 2005).

  Authoritative Versus Individualistic Strategies for Understanding Religious
  and Sexual Identities
     In another line of research, scholars have analyzed the distinct authoritative
  and individualistic strategies people pursue to understand the connections be-
  tween their religious and sexual identities [cf. discussion in Fuist et al. (2012) of
  LGBTQ groups that emphasize the collective as locus of authority vs. individual

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   as locus of authority]. In the authoritative approach, LGBQ people take very se-
   riously the teachings of a single religious tradition, often the one in which they
   grew up or the one in which they found themselves when they came out. They
   then devote energy to understanding the implications of this religious tradition
   for their sexual identities (e.g., Barton 2012: ch. 5; Erzen 2006; Izienicki 2017;




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   Lalich and McLaren 2010; Loseke and Cavendish 2001; Mahaffy 1996; Schnoor
   2006; Thumma 1991; Wedow et al. 2017; Winder 2015; Wolkomir 2006). Even if
   they eventually reject the teachings of that tradition and seek out a religion that
   is more accepting, LGBQ people adopting authoritative understandings of reli-
   gious and sexual identities remain committed to religious institutions and submit
   to authoritative teachings on religion and sexuality. Overall, people pursuing
   authoritative strategies for understanding the connections between religion and
   sexuality can be found in conservative and liberal religious groups alike.
       By contrast, in the religious individualism approach, LGBQ people may show
   much less commitment to the formal teachings of religious authorities (e.g., Pitt
   2010) or single religious institutions (Wilcox 2009). Instead, embracing the late
   modern (or postmodern) trend of focusing on the self as a kind of “reflexive”
   project (Giddens 1991), LGBQ people may mine insights from a variety of
   religious institutions to build a spirituality that personally suits them. For ex-
   ample, in her study on queer women’s religious individualism, Wilcox (2009:
   123) shows that few of her respondents remained wholly committed to their
   childhood religions; rather, queer women often practiced strategies such as reli-
   gious bricolage, in which they “create[d] unique mosaics of religious beliefs and
   practices drawn from a variety of different religions and teachers,” such as by
   mixing Christian beliefs with New Age practices (also see Wilcox 2003). Again,
   people pursuing individualistic strategies for understanding the connections be-
   tween religion and sexuality can be found in conservative and liberal religious
   groups alike.

   Impact of Groups on Approaches to Religious and Sexual Identities
        Despite the large amount of research on religious and sexual identities, sur-
   prisingly little research explicitly considers how groups shape the ways people
   come to understand the connections between religious and sexual identities (cf.
   critiques by Fuist 2016; Izienicki 2017; Levy 2012). In fact, even most studies
   conducted within an organizational context arrive at the conclusion that people
   form their views on religion and sexuality before joining a particular organiza-
   tion. To consider major monographs on religion and sexuality: Wilcox (2003:
   63) finds that the vast majority of participants in two Metropolitan Community
   Church congregations in California had reconciled their religion with their
   sexuality before arriving in their congregations; Moon (2004: 56) argues that
   (the mostly straight) people at conservative-leaning and liberal-leaning United
   Methodist congregations in Illinois generally arrived at their views on religion
   and homosexuality through personal experience, which informed their everyday
   theologies; and Wolkomir (2006) finds that people enrolling in a Southern ex-gay

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  organization had already concluded that same-sex desire was incompatible with
  their Christian faith by the time they arrived in the group. Certainly, studies find
  that such organizations shape the precise language participants use to understand
  religion and sexuality, but they do not necessarily lead to or change their overall
  perceptions of or strategies for understanding the connections between religious




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  and sexual identities.
       A comparison of the many case studies on the connection between religious
  and sexual identities does, though, provide clues that context must matter for
  people’s approaches to understanding the connections between religious and
  sexual identities. As already shown, although most religious traditions provide
  adherents with the conservative notion that religious and sexual identities may be
  in conflict, a few religious traditions (such as LGBTQ-led religious congregations,
  many mainline Protestant congregations, and certain non-Christian religious
  groups) may lead to adherents’ more liberal perceptions that their religious and
  sexual identities are compatible. Additionally, reviewing studies on LGBTQ-
  led congregations, Wilcox (2009) concludes that the male-dominated nature of
  many LGBTQ-led congregations, combined with the diverse spiritual landscape
  of a city like Los Angeles, may lead queer women to abandon participation in
  formal religious groups and pursue a strategy of religious individualism to con-
  struct their own personal religious approaches. The study that follows analyzes
  LGBTQ activist groups, a type of organization rarely considered in studies on re-
  ligion and sexuality, and affirms that groups play a major role in shaping people’s
  approaches to understanding the connections between religion and sexuality. It
  also advances scholarly literature by advancing a Goffmanian approach to under-
  standing groups’ impacts on approaches to religion and sexuality.


  THEORETICAL FRAMEWORK

      To conceptualize how LGBTQ activist groups shape participants’ approaches
  to understanding the connections between religion and sexuality, I employ a
  Goffmanian approach that conceptualizes human interaction as social drama—
  with humans “performing” in different ways depending on the people with whom
  they interact [see Sumerau et al. (2016) for another Goffmanian approach to
  the study of religion and sexuality, based on Goffman’s concept of the “moral
  career.”]. Specifically, I consider how LGBTQ activist groups forge different
  frames (Goffman 1974; cf. Snow et al. 1986; Snow and Benford 1988) in their
  interactions with different audiences (Goffman 1959; cf. Blee and McDowell
  2012), and in the process affect participants’ approaches to understanding reli-
  gion and sexuality.
      In considering the impact of LGBTQ activist groups on approaches to reli-
  gion and sexuality, I do not limit my attention to activist groups that deploy dis-
  ruptive protest tactics in the pursuit of structural or policy changes, a focus that
  has traditionally characterized literature in social movement studies (cf. critique

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   in Coley 2018a). Rather, activist groups—defined broadly as groups that seek
   to bring about social change—deploy distinct tactics depending on the types
   of changes they seek and the constituencies they target to bring about those
   changes. Although some activist groups that I call direct action groups do de-
   ploy direct action tactics in hopes of convincing administrators to pass certain




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   policies, other activist groups that I call educational groups engage in campus-
   wide educational campaigns to change students’ hearts and minds about religion
   and sexuality, and still other activist groups that I call solidarity groups construct
   safe spaces to connect similarly identified people with one another and facilitate
   members’ personal development (cf. Coley 2018a).2 Thus, activist groups engage
   distinct audiences that may require distinct approaches to conversations about
   religion and sexuality.
       The audiences that LGBTQ activist groups engage might first be categorized
   in terms of whether they comprise friends or foes (Blee and McDowell 2012: 3).
   Scholars studying how activist groups draw people into a movement by promoting
   strategic action frames—pithy ways of describing the nature of social problems
   and the need to address those problems—have long argued that mobilization
   of foes (e.g., conservatives) requires attending to laborious tasks such as “frame
   transformation,” in which activists tackle the “old meanings or understandings” of
   people who are skeptical of a movement and then “plant and nurture new values”
   (Snow et al. 1986: 473). Alternatively, mobilization of friends (e.g., liberals) may
   only require “frame bridging” and “frame extension,” in which activists diffuse in-
   formation to potential beneficiaries or conscience constituents who already sym-
   pathize with the movement (Snow et al. 1986).
       Audiences can also be categorized in terms of whether they comprise the
   front stage or the back stage (Goffman 1959; also see Benford and Hunt 1992).
   When activist groups appeal to outsiders comprising the front stage—perhaps
   challenging leaders to change certain policies or attempting to change attitudes
   held by people in the wider community—framing scholars argue that they must
   adopt messaging that achieves broad “cultural resonance,” perhaps messaging
   rooted in authoritative cultural discourses (Snow and Benford 1988). However,
   when activist groups concentrate on insiders comprising the back stage—that is,
   attempt to facilitate personal changes among their members—any proffered ideas
   may not need to achieve cultural resonance but instead simply resonate with the
   lived experiences of individual members [see Snow and Benford (1988)’s discus-
   sion of experiential commensurability].
       Based on this prior work on how distinct audiences necessitate different
   frames and framing tasks, we can formulate expectations about how LGBTQ

        2
         The term “solidarity groups” is motivated in part by these groups’ emphasis on connecting
   people on the basis of their “solidary identities,” defined by Gamson (1991) as identities linked
   to specific social locations such as gender or sexuality. People in these groups provide support
   even to people who may not possess their same gender and sexual identities (e.g., a gay man
   may provide support to a transgender woman).


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  activist groups’ different audiences shape distinct approaches to understanding
  the connections between religion and sexuality. First, LGBTQ activist groups do
  vary in terms of whether they mobilize foes or friends. Educational groups exist to
  change straight people’s attitudes about same-sex relationships; they must attract
  straight, conservative Christians (foes) to their group and confront their beliefs




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  that homosexuality is sinful head-on, offering perspectives about how Christian
  teachings can be reconciled with LGBQ people’s desires to enter into same-sex
  relationships. These groups attempt to “challenge old meanings or understandings”
  (Snow et al. 1986: 473), directly engaging with conservative discourses about the
  conflictual nature of religious and LGBQ identities (table 1). Direct action groups
  and solidarity groups, however, exist to improve the lives of LGBTQ people, ei-
  ther by ensuring LGBTQ people are free of formal discrimination or by providing
  LGBTQ people opportunities for personal growth. They make no effort to mobi-
  lize conservative Christians but mobilize LGBTQ people and their allies (friends)
  to achieve their goals. These groups solely attempt to diffuse information to those
  sympathetic to a movement (Snow et al. 1986), adopting liberal compatibility
  discourses about religion and sexuality to which LGBTQ people and their allies
  are likely to respond favorably.
       Second, some LGBTQ activist groups train the people whom they mobilize
  to adopt messaging for a wider audience (i.e., they speak to the front stage).
  Direct action groups certainly target a wider audience, as they must convince
  leaders to pass official changes in school policies. Educational groups also target
  a wider audience, as they seek to educate members of their broader Christian
  university community on LGBTQ issues. Both groups must ensure their mes-
  saging achieves cultural resonance with the outsiders to whom they commu-
  nicate (Snow and Benford 1988), so they defer to authoritative understandings
  of religious and sexual identity derived from a single familiar religious tradi-
  tion, Christianity (table 1). By contrast, solidarity groups exist by and for their
  LGBTQ members (i.e., they are oriented to the back stage): they seek to provide
  LGBTQ people opportunities to socialize and receive help in their life journeys
  and have no need to craft messaging for outsiders. Because they can simply
  concern themselves with whether ideas resonate with individual participants
  (Snow and Benford 1988), they can offer space for participants to construct
  personalized understandings of religion and sexuality, enabling participants’ re-
  ligious individualism.
       An implication of this Goffmanian framework for understanding how
  LGBTQ activist groups shape approaches to religion and sexuality is that
  groups and their participants are strategic in their messaging. Although
  leaders who craft groups’ messaging or members who adopt groups’ proffered
  ideas might be personally religious or personally LGBQ, personal religiosity
  and personal identification with the LGBQ community are not necessary
  conditions for groups to successfully promote and shape beliefs about religion
  and LGBQ identities.


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   TABLE 1 Typology of Activist Groups and Their Associated Approaches to Religion
   and Sexuality

   Activist group         Groups mobilizing “friends”       Groups mobilizing “foes”
   audiences




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   Groups with “front     Direct action groups—Liberal      Educational
   stage” orientation     compatibility discourses          groups—Conservative
                          rooted in authoritative           conflict discourses rooted in
                          understandings of religion        authoritative understandings
                          and sexuality                     of religion and sexuality
   Groups with “back      Solidarity groups—Liberal         Unobserved
   stage” orientation     compatibility discourses
                          rooted in individualistic
                          understandings of religion
                          and sexuality

   DATA AND METHODS

        To understand how people form their approaches to understanding religious
   and sexual identities, I conducted in-depth interviews with participants in LGBTQ
   activist groups at four Christian colleges and universities: Belmont University
   in Nashville, TN; Catholic University in Washington, DC; Goshen College in
   Goshen, IN; and Loyola University Chicago in Chicago, IL. I selected the four
   schools because they vary in terms of two characteristics that have been linked to
   varying levels of LGBTQ-inclusion at Christian colleges and universities (Coley
   2018a: ch. 1): (1) whether they are affiliated with religious traditions emphasizing
   personal piety or social justice and (2) whether they are located in conservative
   or liberal states or districts (defined by a state’s or district's vote for Mitt Romney
   or Barack Obama in the 2012 Presidential election). The schools also happened
   to differ in terms of Protestant or Catholic affiliations. The first school, Belmont,
   resides in a “red” state (Tennessee), was for much of its history affiliated with
   the Tennessee Baptist Convention, and at the time of the study branded itself
   as a conservative, nondenominational Christian university. The second school,
   Catholic University, is associated with the conservative wing of the Catholic
   Church but resides in the “blue” District of Columbia. Third, Goshen College
   belongs to a religious tradition that emphasizes social justice (the Mennonite
   Church USA)—the college brands itself as a “social justice college”—but resides
   in a “red” state (Indiana). Finally, Loyola Chicago belongs to a religious tradition
   that emphasizes social justice (the Jesuit order in Catholicism) and resides in a
   “blue” state (Illinois).
        I employ a comparative case-based research strategy as a way to identify the
   specific characteristics of groups and/or their sites that contribute to variation
   in approaches to religion and sexuality. Specifically, by examining a range of
   activist groups (i.e., direct action groups, educational groups, solidarity groups)


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  within a range of sites (e.g., sites that varied in terms of Catholic and Protestant
  affiliations, affiliations with communalistic and individualistic theological
  traditions, locations in blue and red states or districts), I was able to isolate char-
  acteristics that contributed to variation in approaches to religion and sexuality
  from others that did not. Ultimately, I show that characteristics of schools and




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  their states or districts were less important than characteristics of activist groups
  and the audiences with whom they engage in shaping approaches to religion and
  sexuality.
       I conducted interviews with 77 people overall. I sought out participants by
  e-mailing leaders featured on group web pages or Facebook groups, asking those
  leaders to circulate calls for participants within their groups, and following up
  on recommendations each participant made regarding other people I could in-
  terview. Most schools were home to multiple LGBTQ groups, so I sought out
  interviews with participants in any active groups. I draw especially on a subset of
  interviews with 65 students—25 at Belmont, 13 at Catholic, 12 at Goshen, and
  15 at Loyola. Among these students, 54% identified as men, 86% identified as
  white, 77% identified as lesbian, gay, or bisexual, and 8% identified as transgender
  or gender fluid. In addition to quoting from interviews with student respondents,
  I occasionally refer to interviews with 12 faculty, staff, and community members
  who participated in protests or advised the groups—eight at Belmont, two at
  Loyola Chicago, one at Catholic, and one at Goshen.
       I conducted most interviews during the 2013–2014 school year, although
  I also draw on an early wave of interviews collected at Belmont during the 2010–
  2011 school year when protests were taking place. The interviews ranged from 45
  minutes to 3 hours, averaging 1.5 hours, and covered a wide range of topics, in-
  cluding participants’ religious backgrounds and beliefs, participants’ motivations
  (religious or otherwise) for joining LGBTQ groups, LGBTQ groups’ religious
  messaging, the activities in which the LGBTQ groups were engaged, and the
  impacts of LGBTQ groups on participants’ religious beliefs and practices.
       I transcribed each interview and then inductively coded the interviews. For
  example, to identify LGBTQ groups’ forms, I coded respondents’ answers to an
  open-ended question that asked, “How would you describe your organization to
  someone who wasn’t familiar with it?” I found that organizations exhibited one of
  three forms based on their missions and activities—direct action, educational, or
  solidarity forms—and that they varied in their front stage versus back stage ori-
  entation and their focus on mobilizing friends versus foes. In cases where groups
  took on multiple functions, I drew on data from questions that asked respondents
  to list activities that their group had been engaged in, which allowed me to assess
  groups’ priorities and emphases. Similarly, in coding respondents’ ways of talking
  about religion and sexuality, I coded a variety of questions related to respondents’
  religious views, including direct questions such as “How would you describe your
  own perspective on religion and sexuality?” I found that respondents tended to
  emphasize perceptions of religion and sexuality as either compatible or contradic-
  tory and used either authoritative or individualistic strategies for understanding

       EXHIBIT G                                                                   10
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    the connections between religion and sexuality. I then analyzed overlap in
    codes of LGBTQ groups’ front stage versus back stage orientations and focuses
    on mobilizing friends versus foes, along with respondents’ perceptions of and
    strategies for understanding overlaps in religion and sexuality, to arrive at the
    findings below. Note that, although I primarily rely on such interview data in




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    describing my general findings, I occasionally reference field notes from personal
    observations of protests at Belmont and media coverage about the LGBTQ groups.


    REFRAMING CONVERSATIONS ABOUT RELIGION AND
    SEXUALITY

         Direct action groups deploy extra-institutional protest tactics (e.g., rallies,
    sit-ins) in an effort to change campus policies. Direct action groups were present
    at all four of the Christian colleges and universities at various points of time—for
    example, the Advocate group at Loyola Chicago as it operated in the mid-2000s,
    the CUAllies group at Catholic University as it operated from 2009 to 2011, and
    the Open Letter movement at Goshen College that lasted from 2011 to 2015—
    but I concentrate here on the Bridge Builders group at Belmont as it operated
    from 2010 to 2011.
         Although Belmont’s Bridge Builders group first operated as an (unofficial) ed-
    ucational group beginning in 2009—focusing on facilitating conversations about
    religion and sexuality with a select group of students and staff—the group shifted
    to its direct action form in the fall of 2010 after a soccer coach suddenly left the
    university after coming out as a lesbian and soon-to-be-mother. Although the
    exact circumstances of her departure were shrouded by a nondisclosure agree-
    ment, students believed that she was fired and thus quickly mobilized to pressure
    the school to adopt an inclusive nondiscrimination policy, which they believed
    would have protected the soccer coach, as well as approve their LGBTQ student
    group. The group’s efforts were very successful: after only a few days of outside
    rallies, sit-ins, prayer walks, and letter writing drives—and after gaining the sup-
    port of one of Belmont’s most influential donors, Mike Curb, who told the media
    that “If the matter is not resolved, I will continue speaking out about this the rest
    of my life” (Nashville Scene Staff 2011)—Bridge Builders convinced the school
    to approve the group and adopt an inclusive nondiscrimination policy.
         As a direct action group, Bridge Builders had two characteristics that shaped
    the way its members approached discussions of religion and sexuality: first, the
    group was oriented to the front stage, seeking to ensure its appeals were heard
    by the wider community (including administrators). This front stage orientation
    necessitated that group members adopt a message rooted in the teachings of one
    religion (Christianity) that resonated with others at the university. Second, to
    achieve its goals, the group focused on mobilizing like-minded allies who were
    ready and willing to participate in protests against the soccer coach’s firing on


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  short notice. This focus on mobilizing like-minded allies led the group to rely on
  liberal understandings of religion and sexuality rooted in a Christian social justice
  ethic that saw Christianity as on the side of the oppressed, the kind of rhetoric
  that appealed to would-be protest participants.
      Before the protests began, and every night following the start of the protests,




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  Bridge Builders leaders met to discuss their messaging strategy. Most of the
  group’s leaders were not well-steeped in debates about religion and sexuality.
  Thus, to help facilitate their sessions, group leaders invited students from nearby
  Vanderbilt University’s Divinity School who had deeper insights into Christian
  perspectives on sexuality. For example, Danielle (all names are pseudonyms),
  a straight white student at Vanderbilt’s Divinity School, helped the students
  craft their message. She told me that everything about her faith led her to
  support LGBTQ rights. For example, she pointed to Christian teachings that
  Jesus and God were with the “least” of those in society, as well as the teachings
  of John Wesley that called for members of the faith to love one another. She
  encouraged members to spread such a Christian message of justice and love:
    AUTHOR: What about your faith motivates you to seek justice, as you’ve said. . . ?
    DANIELLE: Well . . . for me the story of Jesus, which is a story that I cling to, is a story
    of somebody who was a stranger in a land and ministered to everyone. And Matthew 25
    says whatever you’ve done unto the least of these brothers of mine, you’ve done unto me
    . . . that’s the verse that always sticks to me, because if I think of people who are oppressed
    in this world, I think of people who can’t marry the person of their choice. . . . Also, in
    Genesis, God declared all he had created good. And so if I have to choose between God
    and my gay friends, I choose my gay friends, because they’re people who I can see . . . .
    I told the students that John Wesley, the good Methodist founder, said, though we may
    not think alike, can we not love alike? And to me, I think that’s what the church is called
    to do. And so . . . it’s just everything about my faith that causes me to do this.
      Another student at Vanderbilt’s nearby Divinity School, Jack, a white gay
  man, shared a similar view that the apparent firing of the soccer coach was a den-
  igration of Christian values and that LGBTQ rights were in line with Christian
  teachings about “justice and peace and love”:
    AUTHOR: So what would you say motivated you to become involved in the protests?
    JACK: . . .I felt what happened to the soccer coach was such a gross injustice, and I was
    troubled by the way that people were, from my perspective, denigrating Christianity
    by justifying [the soccer coach’s] firing based on what they called Christian values.
    I thought, I have a responsibility as a divinity student, as a person of faith, not to allow
    that to win the day . . . I couldn’t not get out and do something.

    AUTHOR: Why do you think being a person of faith compelled you to take action. . . ?
    JACK: So . . . as a person of faith, as a Christian, I believe in the stories and teachings of
    the Bible and the resounding calls over generations to act on behalf of justice and peace
    and love. And that action is something that I believe we are called as humans to work
    toward, realizing that it will always be incomplete and imperfect in this life. . . .



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        As I spoke to members of Bridge Builders, it was apparent that the group (partly
    thanks to the work of these seminary students) was shaping Belmont students’
    ways of speaking about religion and sexuality—whether or not the Belmont stu-
    dent in question was personally religious or not. Katie, an influential straight
    white woman leader in the group, spoke to me at some length about the group’s




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    efforts to frame LGBTQ inclusion as a value rooted in a Christian social justice
    ethic. Specifically, she noted that the group decided not to engage in attempts
    to change opponents’ minds about the morality of same-sex relationships and
    instead decided to affirm the compatibility between Christianity and LGBTQ
    rights:
      KATIE: I think we tried to stay away from the . . . Christianity is homosexuality right
      or wrong thing. We just stayed away from that because we were like, honestly it doesn’t
      matter at this point, we’re not going to try to change what people believe. . . . Rather
      than trying to change people’s personal beliefs, we were trying to say what we believe is
      the correct Christian response. It’s to be accepting and welcoming of everyone. . . . So
      part of it was saying, Belmont, you’re being hypocritical because you’re doing this out of
      your Christian faith, but at the same time you’re not loving. . . .
        When I asked another straight white member, Alex, about the kinds of
    messages he emphasized in talking to the media and others during the protests,
    he replied:
      ALEX: That Christianity is not exclusive, it is inclusive. It is a faith about love. It’s the
      greatest gift of all—love. To show the kind of hate and bitterness toward [the soccer coach]—
      not just her, but anyone who is gay or anyone who is different—is not holding up the values
      of Christianity, which are love and inclusiveness. . . . There were a lot of strong Christians
      trying to encourage love and acceptance of people who were different. . . . And I will be
      honest, I had not thought much about my own views on Christianity and gay rights issues
      much before the protests, but I feel like Bridge Builders helped me formulate my perspective
      on these issues, for sure.
         Other students similarly told me that participation in the protests at Belmont
    greatly shaped both their beliefs and practices with respect to religion and sexu-
    ality. For example, a white lesbian woman named Rachel said she began attending
    an LGBTQ-friendly Christian church after meeting a religion major through the
    protests who was “very passionate about the fact that it was okay for her to [be-
    come] a pastor and to be gay, and that was totally fine, and that everyone should
    just get the fuck over it,” adding that the woman helped her understand “I didn’t
    have to stick with the views that had been espoused to me since I was a child
    about gay people in religion.” Also, a white gay student named Cyrus told me
    group leaders helped him formulate his perspective on what a Christian univer-
    sity is supposed to be: “loving and inclusive” rather than hateful and exclusive.
         It is clear protest participants responded well to the messaging strategy that
    group leaders promoted through meetings, Facebook events, and e-mails. In ad-
    dition to conducting interviews, I attended the protests and took note of protest
    signs. I found nearly all contained “liberal” Christian themes: “WWJD?”, “God is
    Love, 1 John 4:8,” “Belmont, Love Thy Neighbor as Thyself,” “Jesus Had 2 Dads

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  and He Turned Out Just Fine,” “Jesus Was Born to a Nontraditional Mother,
  Would Belmont Fire Her Too?”, and “CHRIST = LOVE.” At the first protest,
  a retired African-American Methodist bishop prayed over the students, urging
  them to continue speaking out in favor of the Christian message of love and
  justice. At another event, a prayer walk, a white gay man raised similar themes:




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  “God of peace and justice, you surround us now. We believe you liberate the op-
  pressed, God” (Brooks 2010).
      Overall, the protest participants continually expressed an understanding of
  Christianity as compatible with LGBTQ rights. The group’s front stage orien-
  tation led members to draw solely on teachings from the Christian religion, and
  the group’s focus on mobilizing friends led members to adopt perspectives that
  appealed to socially liberal members of its community.


  RECONCILING RELIGION AND SEXUALITY

       Educational groups use more conciliatory methods (Safe Zone trainings,
  lectures, movie showings) as a way to establish a shared set of beliefs and then in-
  form their broader communities about those beliefs—in this case, beliefs related
  to religion and sexuality. Educational groups were present at most of the schools
  I studied at various points of time—such as Bridge Builders at Belmont as it
  operated in 2009 and then again after 2011, and CUAllies at Catholic University
  as it operated after 2011—but I focus here on the case of Advocates at Goshen
  College, which has operated as an educational group since its founding in the
  late 1990s.
       The focus of Advocates on reconciling religion and sexuality was borne out
  of the circumstances of its founding. Specifically, as related to me by nearly every
  member of the Advocates group, the LGBTQ community at Goshen College
  suffered from a series of injustices in 1990s. In the most haunting episode, the
  outline of a human body was reportedly spray-painted across train tracks that
  run through the campus, along with the words “Another Dead Fag.” In another
  episode, a community bulletin board that contained pro-LGBTQ messages and
  flyers was set on fire. Although the Goshen College Board of Oversees had denied
  a group known as the Lesbian, Bisexual, and Gay Alliance official recognition in
  1994, these acts of hate convinced the school to approve the LGBTQ group (as
  well as a solidarity group named PRISM) in the late 1990s. Needless to say, the
  Advocates group saw as its most pressing task the need to promote acceptance
  toward LGBTQ people on campus.
       Two facets of Advocates, as an educational group, shaped its approach to
  conversations about religion and sexuality. First, like the direct action group
  discussed above, Advocates had a front stage orientation, concentrating on
  communicating a message about religion and sexuality to members of the wider
  Goshen College community. This front stage orientation meant that the group


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    would solely draw on teachings in Christianity, particularly teachings familiar to
    members of the Mennonite Church USA, thus employing an authoritative ap-
    proach and ensuring the group’s message would resonate at the school. Second,
    and unlike the direct action group discussed above, Advocates had a focus on
    “mobilizing” (attracting to its events) people who were skeptical of or even hos-




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    tile to LGBTQ people because of their more conservative Christian beliefs. Thus,
    Advocates had to engage with conservative beliefs that viewed Christianity and
    homosexuality as incompatible, teaching members of the community how the
    two could be reconciled. In the process, group members themselves learned a
    great deal about identity reconciliation.
         Illustrative of its outreach to Christian skeptics or foes of LGBTQ rights,
    Advocates regularly organized lectures and workshops on campus to educate the
    wider community about LGBTQ issues. Advocates also worked with the school’s
    Campus Ministries, which agreed to require its “Ministry Leaders” (students
    who lived in every dorm on campus for the purpose of providing spiritual help
    to residents) to attend Safe Zone trainings and learn how to be allies to LGBTQ
    people. Through such events, respondents learned to grapple with the kinds of
    conservative understandings about religion and sexuality that they often ran up
    against. For example, a straight white member named Hope references group
    discussions and a lecture about how to read the Bible:
      HOPE: I’ve been exposed to a lot of different Biblical interpretations through the group
      . . . and I’m sure you know about all the Sodom and Gomorrah and stuff . . . [we talked]
      about alternative Biblical interpretations and all the other immoralities and sexual
      immoralities going on in those stories as opposed to just a homosexual thing. And also
      . . . we were talking last week about different translations, different words in Greek and
      Hebrew that were translated into homosexual, and how that might not really have been
      as accurate as it should have been. . . . I don’t know if people told you about the Ted
      Swartz presentation we had. He had this quote about hawks coming down and pecking
      little bits of the Bible and how . . . it’s not proper to dive bomb and grab one little piece
      that’s applicable to your current situation, it’s important to actually understand the con-
      text. And remembering that Jesus didn’t directly say anything about homosexuality.
        Similarly, when I asked his perspective on religion and sexuality, Liam, a gay
    man of color who was also active in College Ministries, referred to working through
    interpretations of Scripture that might be used against LGBTQ advocates:
      AUTHOR: Has your participation in the organization shaped or changed your religious
      views at all? Has it given you a new perspective on religion and sexuality at all?
      LIAM: Well, it . . . clarifies vague beliefs I’ve had in relation to religion and sexuality,
      sexuality in the church. I feel like I didn’t know a lot about that before. . . . There are a lot
      of great points in the Bible, but too many people take some parts literally, and some parts
      figuratively, and they’re not consistent. It’s important also to recognize issues of transla-
      tion, and how the Bible has been translated continually over hundreds of years, and to
      recognize that some pronouns have been thrown in there with additional translation.




      EXHIBIT G                                                                                 15
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      Ron, a gay white man involved in the group, talks about reading articles about
  sexuality written by others within the Mennonite Church and coming to an un-
  derstanding of gay sexuality as a “God-given good gift” that “we can use to help
  build the kingdom of God”:
    RON: I definitely did a lot of work sifting through my thinking on [religion and sexuality]




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    . . . other students in the group pointed me to texts that allowed me to work through my own
    thoughts on religion and sexuality. . . . So, sifting through all the hermeneutical questions and
    questions of interpretation. . . . [O]ne of the things at the core of my understanding of religion
    and sexuality that I have to keep reaffirming . . . as you hear so much condemnation and very
    . . . closed-minded, legalistic understandings of scripture and sex, is holding on to the
    idea of sexuality as a good gift, a God-given good gift. . . . I read something from another
    gay Mennonite [who] talks about gay sexuality being a gift that we can use to help build
    the kingdom of God. . . . I like what that communicates, as being something we have
    to connect deeply with . . . another person, and in so doing . . . further the work of the
    kingdom of God.
      Finally, when I interviewed Lynn—a straight woman of color who had not
  previously thought much about religious teachings on LGBTQ issues—she spoke
  about Bible verses that can be used to say “God doesn’t accept LGBTQ members”:
    LYNN: Personally, I’m not the most religious person. But I think a lot of people have the
    understanding that . . . I guess they think certain Bible verses point to the idea that God
    doesn’t love, God doesn’t accept LGBTQ members. I’ve had to think a lot lately about
    my own views and responses to those people.
      Overall, as with direct action groups, the front stage orientation of the
  Advocates group led the group to root its approach in the Christian religion,
  a religion with obvious resonance at a Mennonite school. Unlike direct action
  groups, however, the Advocates group was particularly engaged in drawing foes
  or skeptics to this group, and this led group members to take seriously the con-
  servative premise that same-sex relationships are incompatible with Christianity.


  INDIVIDUALIZING APPROACHES TO RELIGION AND
  SEXUALITY

      Finally, solidarity groups construct safe spaces as a way to connect similarly-
  identified people with one another to engage in social activities and to pro-
  vide mutual support. Solidarity groups have been present at most of the schools
  I studied at one point or another—from the short-lived Queer/Straight Student
  Organization (Q.S.S.O., pronounced “Queso”) at Belmont in 2014 to PRISM at
  Goshen College—but I focus here on the case of Advocate at Loyola Chicago.
      Unlike the other colleges and universities in this study, Loyola Chicago was
  much farther along in terms of its evolution on LGBTQ rights during the time of
  my research. Although Loyola Chicago rejected a lesbian, gay, and bisexual group’s
  formal request for recognition in the 1980s, in 1990 it approved an organization


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    known as the Gay, Lesbian, and Bisexual Association (GLABA), and the mis-
    sion of providing a welcoming environment for LGBTQ students has since been
    institutionalized at the university through the work of the Student Diversity &
    Multicultural Affairs Office. The school still does not have a “perfect record” on
    LGBTQ rights—after Illinois legalized same-sex marriage in 2013, for example,




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    the school quickly passed a new rule saying that only “Catholic weddings” (be-
    tween a man and a woman) would be allowed on campus. Nevertheless, because
    the university has become fairly welcoming to LGBTQ students, the LGBTQ stu-
    dent group that became known as Advocate has, especially in recent years, mostly
    focused on community-building and mutual support functions.
        As a solidarity group, Advocate exclusively focused on mobilizing or engaging
    members of the LGBTQ community (“friends”). For example, the group provided
    personal support to LGBTQ people who were in the process of coming out or
    who were facing pushback or hostility from their family members and friends. The
    group also regularly organized social opportunities for LGBTQ people to meet
    each other, from ice cream socials to dodgeball nights to “Alphabet Soup” bingos.
    Advocate also organized meetings for members to talk about issues facing the
    LGBTQ community, including issues related to religion and sexuality, but unlike
    with educational groups, these events were intended for members rather than
    outsiders, so such events concentrated on liberal approaches that would appeal to
    many LGBTQ people.
        The group also had a back stage orientation that did not require it to craft
    a message that would resonate with the broader Loyola community. Indeed, a
    through-line for all of its activities was an emphasis on celebrating the diver-
    sity of identities that existed within the group. The group very much embraced
    the idea of focusing on the self as a kind of “reflexive” project (Giddens 1991),
    of celebrating its members’ pursuits of authenticity, a focus that Wilcox (2009)
    views as emblematic of individualism. Because members were given ample
    opportunities to talk about their own identities—but were not encouraged to
    come to any kind of consensus about matters of religious and sexual identity, as
    were members of educational groups—students were exposed to views from a va-
    riety of religious traditions and were able to each arrive at religious beliefs that
    appealed to them personally. For example, Lily, a queer white woman, describes
    having come to reject her Catholic upbringing but now exploring Wiccan and
    Buddhist thought:
      AUTHOR: Did you expect backlash in any way in response to your joining Advocates?
      LILY: Coming into Loyola, I was scared out of my mind, because . . . I was stuck with
      this mentality of, oh, they’re Catholics, they’re going to scorn me. But honestly, once
      I talked to people about it and learned that it’s nicknamed “Gayola,” I felt a lot more safe
      and a lot more comfortable. Coming in, Day 1, I was like “oh, okay.”
      AUTHOR: So do you have any religious background yourself? Or no?




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    LILY: I used to be Roman Catholic as a child—I remember that I saw an episode of the
    Simpsons where they made a joke that every time you swear, you get 1,000 years of hell,
    and I panicked. . . . I started praying to God and all these things . . . I’m at a point right
    now where—I’m done with the Roman Catholics personally. . . . But because of things
    I’ve learned in Advocate, I’m currently at an agnostic phase. I’ve learned about other
    religions, such as the Wiccan religion and the Buddhist religion, to kind of see where




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    I fit. . . . I know it’s kind of a cliché, but I do believe in just general spirituality.
      When I asked a queer white man named Franklin about his religious back-
  ground, he described being a “pretty militant atheist” in high school. However,
  after his time in Advocate, he similarly now identifies as “some type of agnostic”
  and is reading Buddhist teachings:
    FRANKLIN: Before I started college, I was a pretty militant atheist . . . but I know I’m
    not an atheist anymore, I’m some type of agnostic, I very much like Buddhist teachings
    I’ve read, so I think—I mean, I don’t even know what to classify as currently.
    AUTHOR: Has Advocated played a role in any of your shift in mindset about religious
    issues, or was Advocate really not a part of that shift?
    FRANKLIN: I think it was, yes. I think so much of the rhetoric around sexuality issues
    is that in order to be an activist on sexual issues you have to be completely secularist. . .
    . Advocate introduced me to people who are queer activists or Marxists but they are also
    incredible entrenched in a Catholic tradition and Catholic identity. . . . So I think that
    before being in Advocate . . . I thought it was very much an either/or choice, I didn’t
    know there are things like queer theology, liberation theology, and just how vast and
    expansive the Catholic tradition is, let alone all these other religions.
      Elizabeth, a white pansexual woman, describes already having a very diverse
  religious upbringing. Although she was skeptical of Catholicism after high school,
  she now identifies as “20% Catholic” and attends mass in Chicago, partly because
  of people she met in Advocate:
    AUTHOR: Coming into Loyola . . . did you identify . . . as Catholic?
    ELIZABETH: [laughs] So this is usually where I start confusing people, because my dad
    is Catholic and my mom is Jewish. They got married and decided we should go to an
    American Baptist church. So I was baptized as an adult, since it’s Baptist. So technically
    I’m American Baptist. But I attended an Opus Dei school, and when I’m here I go to
    Catholic mass down the street. And occasionally mass on campus. But when I’m home,
    I also go to the Baptist church. I also do Jewish holidays—we’re planning Passover right
    now—so I also identify as Jewish. . . .
    AUTHOR: Has the organization shaped your religious views at all?
    ELIZABETH: My outlook on the Catholic Church from the time I graduated from high
    school to now has done a total 180, because I thought the Catholic Church was all
    like Opus Dei and that they all hate gay people and will stone us to death, but coming
    to Loyola, being around Catholic people in Advocate, I was like wow, the Catholic
    Church is actually really supportive of gay people, that’s amazing, I had no idea. So . . .
    I’m starting to be more open to involvement in the Catholic Church.




       EXHIBIT G                                                                              18
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        As a final example, a gay man of color named Damon was a committed
    Catholic upon enrolling at Loyola Chicago, but Advocate gave him space to ex-
    plore the Episcopal Church, and he now attends an Episcopal congregation with
    his boyfriend whom he met in Advocate. When I asked if Advocate shaped his
    religious views, he replied:




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      DAMON: I think it has . . . what I’ve learned from Advocate has helped me go back and
      see where my faith and sexuality meet. It’s definitely shaped my views about religion, for
      sure . . . and it’s helped me value my own personal spirituality, more than anything else.
        Certainly, the amount of religious diversity within the group is partly the re-
    sult of Loyola Chicago’s more diverse student body. However, Advocate clearly
    placed no pressure on members to adopt a coherent message about religion and
    sexuality that it might communicate to the wider campus. Rather, given its back
    stage orientation, Advocate celebrated the diversity in its midst, encouraging
    students to form their own unique religious views.


    DISCUSSION AND CONCLUSION

         What factors affect people’s approaches to understanding the connections
    between religious and sexual identities? Recent studies have shown that groups
    can powerfully shape people’s views about the connection between religious and
    sexual identities (Fuist 2016; Izienicki 2017; Levy 2012), including in ways that
    lead LGBQ people to view such identities as compatible. This article affirms the
    role of groups in shaping approaches to religion and sexuality, but it also extends
    past research in two ways. First, the study analyzes how groups shape not only
    participants’ views on the compatibility or contradictions of religious and LGBQ
    identities but also participants’ authoritative or individualistic strategies for un-
    derstanding the connections between religious and LGBQ identities. Second, the
    study examines a field of groups (activist groups) rarely examined in studies on
    how groups shape approaches to religion and sexuality.
         The study arrives at two key findings. First, whether an LGBTQ activist
    group is primarily focused on mobilizing friends or foes affects whether the group
    gravitates toward liberal or conservative discourses on religion and sexuality. If
    an LGBTQ group only seeks to draw like-minded people to its protests or events,
    it will opt to use liberal rhetoric about the compatibility between religion and
    sexuality, the kind of rhetoric that will most appeal to allies; however, if an
    LGBTQ group seeks to draw skeptics or even opponents of LGBTQ equality to
    its events, it must directly engage with conservative discourses about religion and
    sexual identity conflicts. Second, whether an LGBTQ activist group is prima-
    rily oriented to the front stage or back stage affects whether it defers to widely
    shared, authoritative approaches to religion and sexuality or encourages members
    to develop personalized understandings of religion and sexuality. Specifically, if
    an LGBTQ group hopes to enact changes in its wider community, it will draw on


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  authoritative teachings of a single religion that resonate with that community;
  however, if an LGBTQ group is primarily interested in facilitating members’ per-
  sonal growth, it will provide space for members to mine insights from a variety of
  religious traditions.
      The study identifies three types of patterns—authoritative and liberal, au-




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  thoritative and conservative, and individualistic and liberal—associated with
  three types of LGBTQ activist groups—direct action groups, educational groups,
  and solidarity groups, respectively. However, as table 1 showed, one additional
  pattern is not analyzed in this study: an individualistic and conservative group.
  A group representing this kind of pattern would, theoretically, have a back stage
  orientation, catering only to its members, but a focus on engaging people skep-
  tical about the morality of same-sex relationships. My research provided initial
  evidence that this kind of group exists: a “Difficult Dialogues” group focused on
  exploring the morality of same-sex relationships formed at Belmont in Spring
  2010; however, the group was confidential in nature and short-lived. Thus, I lack
  extensive interview data on this type of group. Future research might analyze such
  groups and thus further assess the theoretical framework presented here.
      The study points to new directions for research in the sociology of religion,
  advancing a Goffmanian framework that might be extended to examine how
  groups in other settings shape people’s engagement in conversations about reli-
  gion and sexuality. For example, future studies might examine whether LGBTQ
  activist groups in other types of settings shape approaches to conversations about
  religion and sexuality in ways similar to those described here; those studies could
  assess the article’s generalizability beyond the field of Christian colleges and
  universities. Future studies might also build on the article’s typology of audiences,
  identifying other categories of audience interactions that seem to matter for
  approaches to religion and sexuality.
      The study also points to new directions in social movement studies. Recent
  studies show that activists’ attitudes may be an outcome rather than just a cause
  of activist group participation (e.g., Blee 2002; Munson 2010); this article builds
  on such research, illustrating that activist groups’ interactions with distinct
  audiences play key roles in the beliefs that participants adopt. Further applica-
  tion of the Goffmanian approach to the study of activist groups, with its careful
  attention to activist group performances before different audiences, might yield
  insights about activist groups’ impacts on members’ beliefs with regard to a variety
  of other social issues.
      The study’s insights also hold important implications for the well-being
  of a marginalized student population. Because scholars have argued that ac-
  tivist groups’ attempts to change policies are most effective when they make
  claims that are culturally resonant (Snow and Benford 1988), the finding that
  LGBTQ groups can shape how participants talk about religion and sexuality—
  as in this case, where groups framed justice for LGBTQ people as being rooted
  in Christianity, the religion with which these colleges and universities are


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    associated—is encouraging. Similarly, because scholars argue that activist groups
    are most effective in changing the minds of skeptics when they directly challenge
    skeptics’ understandings (Snow et al. 1986), the finding that LGBTQ groups
    can push participants to engage with conservative ideas about religion and sex-
    uality could contribute to real improvements in campus climates. On Christian




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    campuses across the United States, LGBTQ activist groups are indeed working to
    change campus policies and climates and are making real differences in the lives
    of students.


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